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     Case 2:20-cv-11181-CAS-JPR Document 33 Filed 05/28/21 Page 1 of 1 Page      FORM
                                                                            ID #:261



                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA
                                                               CASE NUMBER
Neman Brothers & Assoc., Inc.,

                                                                       2:20-cv-11181-CAS (JPRx)
                         v.                   Plaintiff(s)


Interfocus, Inc., et al.,                                               NOTICE OF ASSIGNMENT
                                                                         OF PANEL MEDIATOR
                                           Defendant(s).




Gail Migdal Title                      is assigned to serve as the Panel Mediator in this case, pursuant to:

                    Stipulation of the parties.         Assignment by ADR Program staff.

Mediation must be completed as ordered by the assigned judge. If no date is set by the assigned judge,
mediation must be completed at least forty-five days prior to the final pretrial conference, consistent
with Local Rule 16-15.2.
Counsel: You must familiarize yourself with General Order No. 11-10 ("GO 11-10"), which governs the
ADR Program. Each party must appear at the mediation in person or by a representative with final
authority to settle the case and must be represented at the mediation by the attorney expected to try the
case. GO 11-10, §§ 8.5, 8.6. If the mediator requires written mediation statements (GO 11-10, § 8.4),
send them directly to the mediator – DO NOT file written mediation statements with the Court. Note
that neither the mediator nor ADR Program staff may extend the mediation deadline; “[a]ny
continuance of the mediation beyond the completion date ordered by the judge or set by local rule must
be approved by the assigned judge.” GO 11-10, § 8.3.
Mediators: Within 30 days of the date of this Notice, you must communicate with counsel to set the
date, time, and place of the mediation. GO 11-10, § 8.1. As soon as the mediation date has been set, you
must electronically file a completed Notice of Mediation Date (Form ADR-13). GO 11-10, §§ 8.1, 8.2.
After the mediation, you must (1) electronically FILE a completed Mediation Report (Form ADR-03)
and (2) return by email to ADR Program staff (DO NOT FILE) the Mediation Confidentiality
Agreement (Form ADR-17). GO 11-10, §§ 8.8, 8.9. If the parties do not cooperate in scheduling a
mediation, or if a mediation becomes unnecessary because the case settles before the session occurs, you
must file a completed Mediation Report (Form ADR-03) to report that information. GO 11-10, § 8.9.

GO 11-10, all ADR forms, and procedures for reserving courthouse facilities for mediations are available on
               the ADR page of the Court’s website at www.cacd.uscourts.gov/attorneys/adr.

Dated: 05/28/2021                                          By: Jennifer L. Cummings
                                                               Managing Attorney
ADR-11 (08/20)                      NOTICE OF ASSIGNMENT OF PANEL MEDIATOR                                Page 1
